




NO. 07-07-0498-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 3, 2008



______________________________





CARL WAYNE HORNE, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 54,538-E; HONORABLE RICHARD DAMBOLD, JUDGE
(footnote: 1)


_______________________________



Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ABATEMENT AND REMAND

Following a plea of not guilty, Appellant, Carl Wayne Horne, was convicted by a jury of two counts of engaging in organized criminal activity and sentenced to twenty years confinement. &nbsp;Appellant filed a pro se notice of appeal challenging his conviction. &nbsp;The appellate record has not been filed. &nbsp;By letter dated December 20, 2007, this Court advised Appellant that he had ten days in which to file a docketing statement. &nbsp;He responded by letter filed December 27, 2007, inquiring whether he is the Appellant and, if so, how to proceed in filing a docketing statement. &nbsp;He also indicated that he had requested court-appointed counsel in the trial court but had yet to be notified by anyone. &nbsp;In the interest of judicial economy, we abate this appeal and remand the cause to the trial court for further proceedings.

Upon remand, the trial court shall utilize whatever means necessary to determine whether Appellant is indigent and entitled to appointed counsel to represent him in this appeal. &nbsp;Should the trial court determine that Appellant is indigent and desires to prosecute this appeal, then it shall appoint counsel. &nbsp;If counsel is appointed, the name, address, telephone number, and state bar number of said counsel shall be included in the order appointing counsel. &nbsp;Finally, the trial court shall execute findings of fact, conclusions of law, and any orders it may enter regarding the aforementioned issues and cause them to be included in a supplemental clerk’s record. &nbsp;The supplemental clerk’s record shall be filed with the Clerk of this Court on or before January 25, 2008.

It is so ordered.

Per Curiam

Do not publish.

FOOTNOTES
1:Sitting by assignment for the Honorable Abe Lopez.




